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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________ X
 Thomas Mohr                                                                Docket No. 14 CV 0981
                                               Plaintiff                               (MAD) (CFH)

  -against-

Security Credit Services, LLC; Lacy                                        AMENDED/SUPPLEMENTAL
Katzen, LLP; Mark H. Stein; and                Defendant                  COMPLAINT AND DEMAND FOR
Michael J. Wegman.                                                               JURY TRIAL

                                                                           Unlawful Debt Collection Practices

                                                                            TRIAL BY JURY DEMANDED
___________________________________________ X



        Plaintiff, by his attorney Joseph Mauro, complaining of the Defendants respectfully
alleges and shows to the Court as follows:


                                    I. INTRODUCTION

       1. The Plaintiff is a residence of the state of Utah, and has not lived in New York in

over twenty years. The Defendants are debt collectors. In an attempt to collect a debt, the

Defendants sued the Plaintiff in the New York Supreme Court, county of Albany, in 2013.

(hereinafter referred to as the “state lawsuit.”) In the state lawsuit, the Defendants falsely

alleged to have served the Plaintiff at his childhood home, where he has not lived in over

30 years. Unbeknownst to the Plaintiff, the Defendants obtained a default judgment against

the Plaintiff in the state lawsuit, and then restrained the Plaintiff’s bank account in Utah.

After learning of the restraint and lawsuit, the Plaintiff provided Defendants with clear and

decisive evidence of his residence in Utah including his driver’s license, tax records, but

the Defendants refused to take any remedial action. Instead, the Defendants chose to use

the illegally obtained judgment and restrained bank account, to attempt to coerce the

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payment of the alleged debt. The Defendants’ actions caused the Plaintiffs’ to suffer

financial damages as well as other damages.

       2. This is an action for damages brought by an individual consumer for violations

of the Fair Debt Collection Practices Act, 15 U.S.C. 1692, et seq. (hereinafter "FDCPA")

which prohibits debt collectors from engaging in abusive, deceptive and unfair practices;

New York General Business Law, Section 349; as well as for violations of common law.

       3.      According to 15 U.S.C. 1692:

(a)    There is abundant evidence of the use of abusive, deceptive, and unfair debt
       collection practices by many debt collectors. Abusive debt collection practices
       contribute to the number of personal bankruptcies, to marital instability, to the loss
       of jobs, and to invasions of individual privacy.

(b)    Existing laws and procedures for redressing these injuries are inadequate to protect
       consumers.

(c)    Means other than misrepresentation or other abusive debt collection practices are
       available for the effective collection of debts.

(d)    Abusive debt collection practices are carried on to a substantial extent in interstate
       commerce and through means and instrumentalities of such commerce. Even
       where abusive debt collection practices are purely intrastate in character, they
       nevertheless directly affect interstate commerce.

(e)    It is the purpose of this title to eliminate abusive debt collection practices by debt
       collectors, to insure that those debt collectors who refrain from using abusive debt
       collection practices are not competitively disadvantaged, and to promote consistent
       State action to protect consumers against debt collection abuses.


                           II. JURISDICTION AND VENUE

       4. Jurisdiction of this Court arises under 15 U.S.C Section 1692k (d), 28 U.S.C

Section 1337, and supplemental jurisdiction exists for state law claims pursuant to 28

U.S.C. Section 1367. Injunctive relief is available pursuant to New York state law. Venue




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in this District is proper in that the Defendants’ transact business here and the conduct

complained of occurred here.



                                        III. PARTIES

       5. Plaintiff, Thomas Mohr, is a natural person residing in the state of Utah.

Plaintiff is a consumer as defined by the FDCPA.

       6. Defendant Security Credit Services, LLC (hereinafter SCS) is a debt buyer who

purchases defaulted debt for pennies on the dollar and then attempts to collect the debts for

a profit. SCS is a debt collector engaged in the business of collecting debts in this state.

The principal purpose of Defendant is the collection of debts using the mails and

telephone, and Defendant regularly attempts to collect debts alleged to be due another.

SCS is a "debt collector" as defined by the FDCPA, 15 U.S.C. Section 1692a(6).

       7. Lacy Katzen, LLP is a law firm engaged in the business of collecting debts in

this state. The principal purpose of Defendant is the collection of debts using the mails and

telephone, and Defendant regularly attempts to collect debts alleged to be due another.

SCS is a "debt collector" as defined by the FDCPA, 15 U.S.C. Section 1692a(6).

       8. Defendant Mark H. Stein (hereinafter “Stein”) is a natural person who on

information and belief was employed by and/or is an agent of Lacy Katzen as a debt

collector at all times relevant to this complaint. Mark H. Stein is a "debt collector" as

defined by the FDCPA, 15 U.S.C. Section 1692a(6). Mark H. Stein is a licensed lawyer in

New York.

       9. Michael J. Wegman (hereinafter “Stein”) is a natural person who on information

and belief was employed by and/or is an agent of Lacy Katzen as a debt collector at all



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times relevant to this complaint. Michael J. Wegman (hereinafter Wegman) is a "debt

collector" as defined by the FDCPA, 15 U.S.C. Section 1692a(6). Michael J. Wegman is a

licensed lawyer in New York.

       10. The Plaintiff alleges that at all times herein mentioned, each of the Defendants

were, and is now, the agent, servant, employee and/or other representative of the other

Defendants, and in doing the things herein alleged, was acting in the scope, purpose and

authority of such agency, service employment, and/or other representative capacity with

the permission, knowledge consent and/or ratification of the other Defendants.



                              IV. FACTUAL ALLEGATIONS

       11. Plaintiff repeats paragraphs “1” through “10” as if fully restated herein.

       12. The Plaintiff has resided in the state of Utah since at least 1991.

       13. On or about August 29, 2013, the Defendants filed a lawsuit against the

Plaintiff Thomas Mohr in New York State Supreme Court, county of Albany. (“the state

lawsuit.”) (See, Exhibit A)

       14. The state lawsuit alleges that the Plaintiff owed a debt for a credit card to Wells

Fargo. The alleged debt of Plaintiff is a “debt” as defined by 15 USC 1692a in that it is a

debt alleged to be owed for personal, family, or household services. The alleged debt was

alleged to be incurred in connection with a Wells Fargo credit card that was used for

personal products and services. No part of the alleged debt was incurred for business

purposes. The Plaintiff’s Wells Fargo credit card was opened during the time when

Plaintiff was living in Utah. Plaintiff did not sign any contract with Wells Fargo while

Plaintiff was in New York.



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       15. The Plaintiff is a residence of the state of Utah, and has not lived in New York

in over twenty years.

       16. The Defendant Security Credit Services, LLP (“SCS”) purchased the alleged

debt and retained the other Defendant debt collectors to help them collect the alleged debt.

       17. The credit card statements from Thomas Mohr’s account that were given from

SCS to the other Defendants clearly show that Thomas Mohr lived in Utah. Despite the

indication of Thomas Mohr’s residence in Utah, the Summons in the state lawsuit falsely

indicates that the Thomas Mohr lived in Albany County, New York.

       18. The Summons in the state lawsuit contains the names of the two attorney

defendants herein: Mark H. Stein, and Michael J. Wegman. The Summons however

contains only one mark that is purportedly a signature. On information and belief, that

signature mark was created without any meaningful attorney review. On information and

belief, Defendants Stein and Wegman allow their signatures to be used in this manner.

The Complaint in the state lawsuit is unsigned and was created by a computer. On

information and belief no attorney meaningfully reviewed this complaint prior to filing. A

basic review would have indicated to any attorney that their own client’s records indicated

that Thomas Mohr lived in Utah.

       19. The Defendants falsely alleged to have served Thomas Mohr at his childhood

home, where he has not lived in over 20 years. (Exhibit B)

       20. On or about January 21, 2014, the Defendants then filed a request for judgment

with the Court again falsely indicating that Thomas Mohr lived in New York, and that

Thomas Mohr had been properly served the Summons and Complaint in the state lawsuit.

(Exhibit C) Exhibit C contains the names of Defendants Stein and Wegman under the



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signature block, but contains only one mark indicating a signature. On information and

belief no attorney meaningfully reviewed this document before signing. A basic review

would have indicated to any attorney that their own client’s records indicated that Thomas

Mohr lived in Utah.

       21. The Defendants obtained a default judgment against Thomas Mohr in the state

lawsuit, and then restrained the Thomas Mohr’s bank account in Utah.

       22. After learning of the restrain and lawsuit, the Defendant provided Defendants

with clear and decisive evidence of his residence in Utah including drivers license, tax

records, and employment information. Despite obtaining this information, and despite the

fact that the credit card statements upon which the Defendants were suing upon showed

Thomas Mohr lived in Utah, Defendants refused to take any remedial action. In fact, the

Defendant chose to further use the illegally restrained bank account to attempt to coerce

the payment of money. The Defendants’ actions caused the Plaintiffs’ to suffer additional

financial damages as well as other damages.

       23. The Defendants never sent the Plaintiff the notices required by 15 USC 1692g.

       24. The Defendant sent an information subpoena to the Plaintiff that did not include

the notices required by 15 USC 1692e(11) for any direct or indirect communication with a

consumer.

       25. On or about August 6, 2014, Thomas Mohr filed a motion in the State Action to

vacate the judgment in the state action.

       26. On or about August 19, 2014 the Defendant Lacy Katzen filed an opposition

Thomas Mohr’s motion to vacate in the state action. The opposition again falsely indicated

that the Plaintiff lived in New York.



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        27. The judge in the state action scheduled a traverse hearing relating to the

Plaintiff’s motion to vacate the judgment in the state action for November 14, 2014.

        28. Neither SCS, nor any attorney on their behalf, appeared at the traverse hearing

in the state action.

        29. On or about November 17, 2014, Thomas Mohr’s attorney in the state action

submitted a proposed order vacating the default judgment and dismissing the state action

with prejudice.

        30. On or about November 24, 2014, the Defendants sent a letter to the state court

indicating that they did not oppose the entry of the Plaintiff’s proposed order vacating the

default judgment and dismissing the state action with prejudice. Defendant also indicated

to the Court that they were releasing the restraint on Mr. Mohr’s bank account.

        31. Notwithstanding their representation that they were releasing the restraint on

Mr. Mohr’s bank account, Mr. Mohr’s account was not released.

        32. On or about December 19, 2014, the New York state Supreme Court entered an

order vacating the default judgment in the state action, dismissing the state action with

prejudice, and ordering that Defendant release the restraint on the Plaintiff’s bank account.

Mr. Mohr’s account was released that same day.

        33. On or about January 26, 2015, the Defendants filed a notice of appeal relating

to the order vacating the judgment and dismissing the state lawsuit.



         V. CAUSE OF ACTION UNDER THE FAIR DEBT COLLECTION

                                    PRACTICES ACT




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       34. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing

paragraphs.

       35. Defendants’ actions as described herein violated the following provisions of

the FDCPA:

       a. 15 U.S.C Section 1692e;

       b. 15 U.S.C Section 1692e(2);

       c. 15 U.S.C Section 1692e(3)

       d. 15 U.S.C Section 1692e(4)

       e. 15 U.S.C Section 1692e(5)

       f. 15 U.S.C Section 1692e(8)

       g. 15 U.S.C Section 1692e(10)

       h. 15 U.S.C Section 1692e(11)

       i. 15 U.S.C. Section 1692f

       j. 15 U.S.C Section 1692e(11);

       k. 15 U.S.C. Section 1692(f)

       l. 15 U.S.C Section 1692f(1)

       m. 15 U.S.C. Section 1692g; and

       n. 15 U.S.C. Section 1692i




  VI. CAUSES OF ACTION UNDER NEW YORK GENERAL BUSINESS LAW

                   SECTION 349 AGAINST ALL DEFENDANTS




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          36. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing

paragraphs.

          37. Defendant’s actions as further detailed herein violate the New York General

Business Law Section 349 et seq. in that:

          a. Defendants are responsible for the filing of a Complaint falsely indicating to the

Supreme Court of New York, that Thomas Mohr resides in New York; and that Thomas

Mohr had been served with the state lawsuit.

          b. Defendants also deceptively indicate that the form complaint has been reviewed

authorized and approved by an attorney. On information and belief that is false and

deceptive. The form Complaint is not signed by any lawyer.

          c. On information and belief, Defendants regularly utilize deceptive practices as

described herein in connection with the attempt to collect consumer debts. Defendant’s

actions have a broad impact on New York consumers at large, in that on information and

belief, the Defendant utilizes the deceptive practices contained herein while attempting to

collect debts from New York consumers.

          38. The Defendants’ actions as described herein have caused the Plaintiffs

significant damages, including but not limited to: the loss of his money from his bank

account; fees associated with the illegal restraint on his bank account; legal fees and costs

necessary to address the improperly obtained judgment in the state lawsuit, amongst other

injury.

          39. The Plaintiff requests that the Court issue an injunction prohibiting the

Defendants from representing to any court that the Thomas Mohr lives in New York.




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                                    VII. CONVERSION

       40. The actions of Defendants as described herein constitute the tort of conversion

in that the Plaintiff had a legal ownership to his bank account; and the Defendants

exercised unauthorized interference with Plaintiff’s ownership of his bank account.

       41. The actions of the Defendants caused the Plaintiffs damage as described herein.

          42. The actions and omissions of the Defendants were willful, malicious, and

wanton.

       43. Despite knowing that the Plaintiff lived in the state of Utah, the Defendants

proceeded to deceive the New York State Court into believing that the Plaintiff lived in

New York. Defendants were aware that their actions were hurting the Plaintiff, but they

chose to do so.

       44. Plaintiff is entitled to punitive damages for the actions of the Defendants as

described herein.




                       VIII. ABUSE OF PROCESS

       45. Plaintiffs repeat and re-allege and incorporate by reference to the foregoing

paragraphs.

       46. Defendants actions constitute the tort of abuse of process in that the Defendants

used regularly issued process, after it was issued, with intent to do harm, in a perverted

manner, in order to obtain a collateral objective. Defendants’ actions interfered with the

property of Plaintiff and Plaintiff suffered actual and special damages.

       47. Defendants issued regular process in that they drafted and filed a Summons and


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Complaint, and a bank Restraining Notice.

       48. Defendants used such process after it was issued with intent to do harm in that

after the they improperly filed the Summons and Complaint and issued the restraining

notice, the Defendants used the retraining notice to improperly coerce the Plaintiff into

paying the alleged debt, by using the retraining notice as leverage. Defendants were aware

that they were not entitled to the amount of money listed in the retraining notice as they

were aware that the judgment had been improperly obtained. Nonetheless Defendants

attempted to use the judgment and restraining notice to force the Plaintiff to pay

Defendants money.

       49. Defendants unlawfully interfered with Plaintiff’s property in that the Plaintiff’s

bank account was restrained.

       50. Defendants used the retraining notice to obtain a collateral objective in that

Defendants leveraged the unlawful retraining notice in an attempt to coerce payment of the

alleged debt from Plaintiffs even though Defendants knew the judgment had been

improperly obtained.

       51. Defendants continued to use the retraining notice after having actual

knowledge of the illegality of judgment.

       52. Plaintiff suffered actual and/or special damages due to Defendants actions as

described herein in that the Plaintiffs monies were retrained; Plaintiff suffered bank fees

and Plaintiff was forced to retain an attorney to try to vacate the illegally obtained

judgment, amongst other injury.

       53. Plaintiff are entitled to punitive damages for the actions and omissions of the

Defendants as described.



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       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants, for the following:

       A. Injunctive relief as requested herein;

       B. Actual damages;

       C. Statutory damages pursuant to the FDCPA and General Business Law;

       D. Nominal damages;

       E. Costs and reasonable attorney's fees;

       F. Punitive damages; and

       G. For such other and further relief as the Court may deem just and proper.

                                              Respectfully submitted,

                                              /S/ JOSEPH MAURO

                                              Joseph Mauro (JM: 8295)

                                              The Law Office of Joseph Mauro, LLC
                                              306 McCall Ave.
                                              West Islip, NY 11795




                             DEMAND FOR JURY TRIAL

       Please take notice that Plaintiff demands trial by jury in this action.

                                              /S/ JOSEPH MAURO
                                              Joseph Mauro




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             EXHIBIT A
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             EXHIBIT B
                                                                                                                                ~
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       SUPREME COURT OF THE STATE OF NEW\ ____ _
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                 COUNTY OF ALBANY                                                                    Job# 204724
                       AFFIDAVIT OF SERVICE
                                                                                                         Index no : 4848-13
                                                                                    Date Index Nwnber Purchased: 08/2912013



I
PLAINTIFF(S):
DEFENDANT:
                          SECURITY CREDIT SERVICES, LLC
                          THOMAS MOHR

STATE OF NEW YORK
COUNTY OF ALBANY                ss.:

EARL PAGE, the undersigned, being duly swom, deposes and says that I was at the time of service over the age of eighteen
and not a party to this action. I reside in the STATE OF NEW YORK.

On 09119/2013 at 12:42 PM, I served the within SUMMONS AND VERIFIED COMPLAINT on THOMAS MOHR at 40
GAR. AVENUE, ALBANY, NY 12205 in the manner indicated below:
SUITABLE AGE: By delivering a true copy of each to LIZ MOHR, CO-TENANT, a person of suitable age and discretion.
Said premises is recipient's usual place of abode within the state.
Pursuant to CPLR. - Section 308(2) On 09/2012013 , service was completed by depositing a true copy of each document to the
above address in a lst Class postpaid properly addressed cnvel~ not indicating that the mailing was from an attorney or
concemed lepl action and mmked "Personal and Confidential" m an official depository under the exclusive care and custody
of the UnitedStates Post Office.




            r=-==
               g-- tof- EAp t-~ !t
A description of the Recipient, or other person served on behalf of the Recipient is as follows:



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Your deponent asked the person spoken to whether the Recipient was in the active militag service and received a negative
reply. Upon information and belief I have; being based on the conversations and observations above narrated, Recipient is not
in the military service.




Swom. subscribed before me on
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           t who is pers<>il.8IIY known to
me or produced identification.                                   North American P
                                                                 2801 Wehrle Drive
                                                                 Wtlliamsville,,NY 14221
                                                                 716.565.0258
                                                                 Atty File#: 201300998

                          Heather Folds
                Notary Public, State of New York
                       No.01F06Cl84521
                Qualified in Schenectady Coun~i I
               Commission Expires Dec. 16, 20...t:f
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       EXHIBIT C
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 STATB OF NEW YORK
 SUPREME COURT                       COUNTY OF ALBANY


  Security Credit Services, LLC
                                              Plaintiff
           vs.
                                                                                  Index # 4848-13
  Thomas Mohr
                                             Defendant(s).
  Amount claimed in Complaint                                                                    $18369.74
  Interest at 0% from 05/01/2012 to Ol/2l/2014                                                        0.00
  Attorney's Fees Awarded by the Court                                                                   0

                                                                                                 $18369.74
                                                                                                     (0.00)
                                                                  $   200.00
                                                                       46.00
                                                                       15.00
                                                                       45.00
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                                                                        7.00                        Document Number 11552420
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                       _ • ;" "   erk                   TOTAL:                                       18942.74
  Attorney Affirmation STA'.if OF NEW YORK: COUNTY OF MONROE

           The undersigned, attorney-at-law of the State of New York, and one of the attorneys ofrecord for Plaintiff herein, affirms
  under penalty of perjury that the disbursements above specified are correct and true and have been or will necessarily be made or
  incurred herein and are reasonable in amount; that the time for Defendant(s) to appear or answer herein has expired and that
  Defendant(s) has/have not appeared or answered her      . Based upon an investigation which was made via internet search with the
  Defense Manpower Data Center, after the date of det1 t, sai Defendant(s) is/are not in the military service.

  Dated: January 21, 2014


  Judgment entered

          The Summons and Complaint in this action having been personally served on Defendant(s) herein, and the time of
  Defendant(s) to appear or answer herein having expired, and Defendant(s) having defaulted in appearance, answer or otherwise as
  shown by the foregoing Affirmation.

           NOW, ON MOTION of Lacy Katzen LLP, attorneys for Plaintiff, having a place of business at 130 East Main Street, PO
  Box 22878, Rochester, New York, 14692-2878, it is ADJUDGED that Plaintiff, Security Credit Services, LLC having a place of
  business or residing at 2653 W. Oxford Loop, Suite 108, Oxford MS 38655 recover of Defendant, Thomas Mohr residing at 40
  Gail Avenue, Albany NY 12205-4831, the sum of $18369.74, the amount claimed with interest, attorneys' fees awarded by the
  Court of$0, with $573.00 costs and disbursements, less payments of$0.00 amounting in all to the sum of$18942.74 and Plaintiff
  have execution thereof.




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